                                                                                                          Case 2:21-cv-00670-MCE-KJN Document 15 Filed 07/06/21 Page 1 of 2


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                                                                                                                                        UNITED STATES DISTRICT COURT
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                                                                                                                                    EASTERN DISTRICT OF CALIFORNIA
                                                                                                     10
SQUIRE PATTON BOGGS (US) LLP




                                                                                                     11   SERINA ARANDA, individually, and on
                                                                                                          behalf of all others similarly situated,
                               555 South Flower Street, 31st Floor




                                                                                                                                                           Case No. 2:21-cv-00670-MCE-KJN
                                                                     Los Angeles, California 90071




                                                                                                     12
                                                                                                                           Plaintiff,
                                                                                                     13
                                                                                                                v.                                         ORDER EXTENDING TIME TO
                                                                                                     14
                                                                                                                                                           RESPOND TO FIRST AMENDED
                                                                                                          LOANDEPOT.COM, LLC; and DOES 1-10,
                                                                                                     15   inclusive,                                       COMPLAINT

                                                                                                     16                    Defendants.
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                                                                                                                Before this Court is the Parties’ Joint Stipulation to Extend Time to Respond to the
                                                                                                     19
                                                                                                          First Amended Complaint. Having reviewed and considered the Parties’ submission, and
                                                                                                     20
                                                                                                          good cause appearing:
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                                                                                                     22         IT IS ORDERED that the Joint Stipulation is GRANTED.

                                                                                                     23         IT IS FURTHER ORDERED that loanDepot will file its response to the First

                                                                                                     24   Amended Complaint by July 30, 2021.
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                                                                                                                                            ORDER EXTENDING
                                                                                                                               TIME TO RESPOND TO FIRST AMENDED COMPLAINT
                                                                                                          Case 2:21-cv-00670-MCE-KJN Document 15 Filed 07/06/21 Page 2 of 2


                                                                                                     1              IT IS FURTHER ORDERED that Plaintiff will file any oppositions by August 20,
                                                                                                     2    2021, and loanDepot will file any replies by September 2, 2021.
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                                                                                                                    IT IS SO ORDERED.
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                                                                                                          Dated: July 2, 2021
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SQUIRE PATTON BOGGS (US) LLP




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                               555 South Flower Street, 31st Floor




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                                                                     Los Angeles, California 90071




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                                                                                                                                    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING
                                                                                                                                       TIME TO RESPOND TO FIRST AMENDED COMPLAINT

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